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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ERIC
UNITED STATES OF AMERICA SUPERSEDING
_yv. = TNDICTMENT
STEPHEN M. CALK, SL 19 Cr. 366 (LGS)
Defendant.
—_ _-_ —_— = — _ — -~ - - _ - ~ _ - —_— = -~ _ - - xX
COUNT ONE

(Financial Institution Bribery)

The Grand Jury charges:

1. This charge is based on a senior bank official’s
corrupt use of his position to issue millions of dollars in
high-risk loans to a borrower in exchange for a personal
benefit. Specifically, as detailed herein, between in or around
July 2016 and in or around January 2017, STEPHEN M. CALK, the

defendant, abused his authority as the chairman and chief

executive officer of a federally-insured bank to cause $16
million in loans to be issued to a borrower whom CALK expected
would, in return, assist CALK in obtaining a senior position
with an incoming presidential administration. CALK did not
ultimately obtain the position and, when the borrower defaulted

on the loans CALK caused to be issued, the bank suffered a

multi-million dollar loss.

 
 

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Relevant Individuals and Entities

2. The “Bank” is a federal savings association
headquartered in Chicago, Illinois. At all times relevant to
this Indictment, its deposits were insured by the Federal
Deposit Insurance Corporation. The Bank is owned in its
entirety by the “Holding Company,” a Chicago-based bank holding
company. Among other lines of business, the Bank extends
residential, construction, and other commercial loans.

3. At all relevant times, STEPHEN M. CALK, the
defendant, was the chief executive officer and chairman of the
board of the Bank. CALK was also chief executive officer,
chairman, and majority owner of the Holding Company. At all
relevant times, CALK owned approximately 67% of the Holding
Company. A relative of CALK’s owned approximately 29%, and
three other shareholders collectively owned approximately 4%.

4. The Bank’s credit committee -- which held
authority to approve or reject the types of loans relevant to
this Indictment -- was comprised of (i) STEPHEN M. CALK, the
defendant, (ii) the President of the Bank (the “Bank
President”), and (iii) the Chief Operating Officer of the Bank
(the “Bank COO”).

5. The “Loan Officer” was, at all relevant times, a

loan officer of the Bank, based in New York, New York.

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6. The “Borrower” was, at all relevant times, a
lobbyist and political consultant. Beginning in or about March
2016, the Borrower held a senior role with a presidential
campaign (the “presidential Campaign”), and from June 2016
through August 2016, he served as chairman of the Presidential
Campaign. After the Borrower's formal role with the
Presidential Campaign concluded in or about August 2016, the
Borrower continued to be informally involved in the campaign.
Beginning in or about November 2016, when the candidate for whom
the Borrower had been working was elected President of the
United States, the Borrower provided informal input to the
presidential transition team (the “presidential Transition
Team”).

OVERVIEW

7. Between in or about July 2016 and January 2017,
STEPHEN M. CALK, the defendant, engaged in a corrupt scheme to
exploit his position as the head of the Bank and the Holding
Company in an effort to secure a valuable personal benefit for
himself, namely, assistance from the Borrower in obtaining for
CALK a senior position in the presidential administration.
During this time period, the Borrower sought millions of dollars
in loans from the Bank. CALK understood that the Borrower

urgently needed these loans in order to terminate or avoid

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foreclosure proceedings on multiple properties owned by the
Borrower and the Borrower’s family. Further, CALK believed that
the Borrower could use his influence with the Presidential
Transition Team to assist CALK in obtaining a senior
administration position. CALK thus sought to leverage his
control over the Borrower’s proposed loans to his personal
advantage in the form of assistance obtaining a senior
administration position. Specifically, CALK offered to, and
did, cause the Bank and Holding Company to extend $16 million in
loans to the Borrower in exchange for the Borrower’s requested
assistance -- which the Borrower agreed to and did provide -- in
obtaining various positions for CALK, including Secretary of the
Treasury, Secretary of Defense, and Secretary of the Army.

8. In approving these loans to the Borrower, STEPHEN
M. CALK, the defendant, was aware of significant red flags
regarding the Borrower's ability to repay the loans, such as his
history of defaulting on prior loans. Moreover, given the size
of the loans, the Borrower's debt became the single largest
lending relationship at the Bank. In order to enable the Bank
to issue these loans without violating the Bank’s legal limit on
loans to a single borrower, CALK authorized a maneuver never

before performed by the Bank, in which the Holding Company --

 
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which CALK also controlled —- acquired a portion of the loans
from the Bank.

9. During the same time period, the Borrower
provided STEPHEN M. CALK, the defendant, with valuable personal
benefits. First, in or about the summer of 2016, during the
Presidential Campaign -- and just days after CALK and the rest
of the Bank’s credit committee conditionally approved the first
of the proposed loans to the Borrower -- the Borrower appointed
CALK to a prestigious economic advisory committee affiliated
with the campaign. And second, in or about late November and
early December 2016 -- after the presidential candidate had been
elected President, after the Borrower’s first loan from the Bank
had been issued, and while a gecond set of loans sought by the
Borrower was pending approval by the Bank -- the Borrower
recommended CALK to the Presidential Transition Team for an

administration position. Due to the Borrower’s efforts, CALK

was given the opportunity to be formally interviewed for the
position of Under Secretary of the Army in or about early
January 2017 at the Presidential Transition Team’s principal
offices in New York, New York. CALK was not ultimately hired.
10. To conceal the unlawful nature of his scheme,
STEPHEN M. CALK, the defendant, made false and misleading

statements to the Bank’s primary regulator, the Office of the

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Comptroller of the Currency (“occ”), regarding the loans to the
Borrower. Among other things, CALK falsely stated to the OCC
regulators that he had never desired a position in the
presidential administration.

11. As a result of its independent review of the
Bank’s loans to the Borrower, in or around July 2017, the occ
downgraded the credit quality of those loans to “substandard,”
concluding that the Bank’s classification of them as
satisfactory had been inappropriate.

FACTUAL BACKGROUND

CALK Solicits and Receives a Presidential Campaign Position from
the Borrower While Working to Extend the Borrower a Loan

12. In or about the spring of 2016, the Borrower and
the Borrower’s son-in-law (the “Relative”) approached the Bank
in search of financing for certain real estate projects. The
Borrower and the Relative were seeking to refinance loans issued
by another lender on a number of the Relative’s real estate
projects (the “prior Loans”), including loans to companies
partly owned by the Borrower and a loan that was personally
guaranteed by the Borrower and secured by a piece of real
property owned by the Borrower and his family in Brooklyn, New

York (the “Brooklyn Property”) .

 
 

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13. On or about July 27, 2016, at the Bank’s office
in Manhattan, the Borrower and the Relative attended a meeting
with the Loan Officer. STEPHEN M. CALK, the defendant, joined
the meeting by videoconference. The purpose of the meeting was
to discuss a proposed refinancing of one of the Prior Loans
related to a construction project in Los Angeles (the “prior Los
Angeles Loan”). During the meeting, after discussing the
ability of the Bank to provide the refinancing sought by the
Borrower, CALK expressed interest in participating in the
Presidential Campaign, and the Borrower, who at the time was the
chairman of the Presidential Campaign, told CALK that he would
get back to him.

14. The next day, on or about July 28, 2016, STEPHEN
M. CALK, the defendant, and the other two members of the Bank’s
credit committee, the Bank President and the Bank COO,
conditionally approved the refinance of the Prior Los Angeles
Loan in the amount of §5.7 million.

15. Less than a week later, on or about August 3,
2016, and consistent with the request made by STEPHEN M. CALK,
the defendant, to participate in the Presidential Campaign, the
Borrower emailed the Loan Officer and asked for CALK’s resume.
When the Loan Officer did not immediately send it, the Borrower

followed up the next day, at which point CALK sent his resume

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directly to the Borrower. The Borrower then responded to CALK,
“per our conversation, I want to add you to the National
Fconomic Advisory Committee for [the presidential candidate].
Is that something you would be able to do?” CALK responded, “I
am happy and willing to serve.”

16. On or about August 5, 2016, the Presidential
Campaign announced the creation of its Economic Advisory
Council. STEPHEN M. CALK, the defendant, was named as one of
its 14 members. Other members of the council included an
individual who went on to become Secretary of the Treasury, an
individual who went on to become Secretary of Commerce,
additional individuals who went on to hold senior governmental
positions, and an individual who went on to chair the
Presidential Inaugural Committee.

The Borrower Restructures the Proposed Loan, which the Bank |
Refuses to Extend

17. Following the July 28, 2016 conditional approval
of the refinance of the Prior Los Angeles Loan, Bank personnel
worked to gather documentation to allow the Bank to underwrite
the proposed loan. The loan -- which was initially to be $5.7
million but was subsequently raised multiple times -- would be
repaid by, among other things, funds derived from the sale of

the Los Angeles property upon completion of construction, and

 
 

 

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would be secured initially by the Los Angeles property but was
subsequently restructured to add as collateral two additional
properties in which the Borrower had an interest.

18. In the process of reviewing the Borrower's loan
application and related materials, Bank personnel learned of
certain negative information regarding the Borrower’s ability to
repay the proposed refinance of the Prior Los Angeles Loan. For
example, on or about September 8, 2016, Bank personnel first
became aware that the Prior Los Angeles Loan was in default and
being foreclosed upon. Later that month, an underwriter at the
Bank wrote a memorandum summarizing a number of issues with the
proposed refinance of the Prior Los Angeles Loan, including an
inability to verify the Borrower's professed income and a
$300,000 credit card delinquency by the Borrower. The
supervising underwriter asked the Bank President to advise
STEPHEN M. CALK, the defendant, of these problems in advance of
a dinner between CALK, the Borrower, and the Relative.

19. On or about October 7, 2016, the Borrower emailed
STEPHEN M. CALK, the defendant, asking for the amount of the
proposed loan -- which by this point was $8.2 million -- to be
increased by an additional $1 million. The Borrower stated, “I
look to your cleverness on how to manage the underwriting.”

Later that day, CALK caused the amount of the proposed loan to
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be increased by $1 million, to $9.2 million. On or about the
next day, the Borrower emailed CALK, saying, “I also want to
again thank you for fixing my issue. It means a lot to me. You
are becoming a very good friend and I look forward to building
our relationship into both a deeper business and personal one.”

20. On or about October 19, 2016, shortly before the
proposed refinance of the Prior Los Angeles Loan was set to
close, the Borrower proposed to the Loan officer an entirely new
loan structure, under which (i) the loan amount would be
increased again, this time by $300,000, from $9.2 million to
$9.5 million; (ii) the loan would be secured, in addition to
some cash collateral, by only two of the Borrower's properties,
rather than the three properties that had most recently been
proposed; (iii) the Relative would no longer be a borrower,
making the Borrower and the Borrower’s spouse the sole
guarantors; and (iv) the repayment source for the loan would now
solely be the Borrower's income -- which, as noted above, had
previously raised concerns for the Bank -- unlike the prior
structure which had contemplated repayment, at least in part,
from the sale of the Los Angeles property.

21. On or about October 20, 2016, the Bank President,
with the consent of STEPHEN M. CALK, the defendant, rejected the

restructured loan and sent an email directing the Loan Officer

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to advise the Borrower that the Bank would not extend the
restructured loan. ‘In that email, which the Bank President then
Forwarded to CALK, the Bank President noted that ‘“[t]his is not
an easy loan to make and is a significant exposure to the bank.”

22. The Loan Officer then, with the consent of
STEPHEN M. CALK, the defendant, initiated plans to attempt to
submit the restructured loan for underwriting to a different
Financial institution (the “Wholesale Lender”), which would
carry the entire economic risk if it accepted the loan.

CALK Reverses Course Following the Presidential Election and
Approves Restructured $9.5M Loan While Seeking the Borrower's

Help in Obtaining A Senior Administration Position
23. On or about November 8, 2016, the candidate for

whom the Borrower had served as campaign chairman was elected
President. Almost immediately thereafter, despite the Bank
previously having declined to underwrite the restructured $9.5
million loan, STEPHEN M. CALK, the defendant, caused the Bank to
reverse course and approve the full loan amount of $9.5 million
(the “$9.5M Loan”). This loan closed just days after the
election, in mid-November 2016. Before closing the $9.5M Loan
for the Borrower, CALK again sought to solicit a personal

benefit from the Borrower: his assistance in obtaining a senior

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position in the incoming presidential administration. In
particular:

a. Beginning on or about November 10, 2016,
CALK caused the Bank to reinitiate the process of evaluating the
$9.5M Loan for underwriting by the Bank itself (i.e., rather
than selling the loan to the Wholesale Lender, which was still
considering whether to underwrite the loan).

b. With the Bank’s consideration of the $9.5M
Loan pending, the next day, CALK requested that the Loan officer
call the Borrower and ask the Borrower whether CALK was in
consideration for Secretary of the Treasury or other senior
administration positions. CALK conveyed this request through
the Loan Officer despite the fact that CALK himself was, by this
point, regularly in contact with the Borrower. The Loan officer
did not carry out this request.

ce. That same day, on or about November 11,
2016, with CALK’s consent, the Loan officer sent counsel for the
Borrower a final term sheet for the $9.5M Loan. It contained
terms that were substantially similar to the proposal the Bank
had previously refused to underwrite, including that it was to
be repaid solely from the Borrower’s income and not the sale of

the Los Angeles property.

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d. The next day, on or about November 12, 2016,
CALK called the Borrower directly and engaged in an
approximately 18-minute conversation with hin, their longest
telephone conversation to that date.

e. Two days later, on or about Novenber 14,
2016, CALK emailed the Borrower a professional biography for
CALK and a document titled “Stephen M. Calk Perspective Rolls
[sic] in the [Presidential] Administration.docx,” which
contained a list of official governmental positions desired by
CALK. This list included 10 Cabinet secretary, deputy
secretary, and undersecretary positions ranked by order of
preference. CALK’S list started with Secretary of the Treasury,
which was followed by Deputy Secretary of the Treasury,
Secretary of Commerce, and Secretary of Defense, as well as 19
ambassadorships similarly ranked and starting with the United

Kingdom, France, Germany, and Italy.

£. Later the same day, CALK emailed the
Borrower asking, “Are you aiding in the transition in any type
of formal capacity?” The Borrower responded, “Total background

but involved directly.” CALK responded, in relevant part,

' YAwesome.”

g. The next day, on or about November 15, 2016,

CALK sent the Borrower an email attaching a document titled

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“Stephen M. Calk - Candidate for Secretary of the Army.docx,”
and wrote, “Will you please review the attached document
prepared at your request and advise what changes and
improvements’ I should make. My goal is to ensure you or my
designated prosper [sic] has all of the information they need to
have me successfully chosen by the President-Elect. I look
forward to your response.” The materials listed, among CALK’s
qualifications for the job of Secretary of the Army, CALK’s
“loyalty” as demonstrated by his service to the Presidential
Campaign.

h. The next day, on or about November 16, 2016,
with CALK’s approval, the Bank closed on the $9.5M Loan to the
Borrower, aS specified in the final term sheet. The Bank
underwrote this loan, bearing its full economic risk.

i. Upon closing of the $9.5M Loan, and again at
CALK’s direction, representatives of the Bank continued to
attempt to sell this closed loan to the Wholesale Lender.

5. Three days later, on or about November 19,
2016, CALK re-sent to the Borrower the document titled “Stephen
M. Calk - Candidate for Secretary of the Army.docx,” as well as
an updated version of the document titled “Stephen M. Calk
Perspective Rolis [sic] in the [Presidential]

Administration.docx,” which listed eight requested senior

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governmental positions in order of preference, beginning with
Secretary of the Army, Deputy Secretary of Treasury, Secretary
of Commerce, and Secretary of Housing and Urban Development, as
well as 18 desired ambassadorships similarly ranked and starting
with the United Kingdom, France, Germany, and Italy.

CALK Pushes to Extend an additional $6.5 Million in Loans to the

Borrower, While Continuing to Seek Senior Administration
Positions

24. After the §9.5M Loan closed, STEPHEN M. CALK, the
defendant, was personally involved in causing the Bank to extend
an additional $6.5 million in loans to the Borrower, which the
Borrower had first requested earlier in 2016 (the *$6.5M
Loans”). However, extending millions of dollars in additional
loans to the Borrower would have made the Borrower the Bank's
single largest individual debtor, and in an amount that would
have exceeded the Bank's statutory lending limit to a given
customer. Concerns about the Borrower's ability to repay even
the first $9.5M Loan had already been raised, as noted above,
and CALK was further aware of the Borrower's dire circumstances
at this time. Specifically, as CALK knew, the Borrower was in
urgent need of additional financing to avert £oreclosure
proceedings on properties owned by the Borrower and the
Relative, including foreclosure proceedings on the Brooklyn

Property, which was to be part of the collateral for the §$6.5M
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Loans. CALK nonetheless pushed forward on extending the $6.5M
Loans, becoming personally involved in seeking to close them on
an urgent basis for the Borrower. At the same, CALK actively
solicited the Borrower’s assistance in obtaining a position in
the presidential administration. In particular:

a. On or about November 25, 2016 -- days after
the Bank closed on the $9.5M Loan (which the Bank was still
attempting to sell to the Wholesale Lender), and while the Bank
was still evaluating the Borrower’s request for the $6.5M Loans
-- CALK emailed the Borrower an updated version of the document
titled “Stephen M. Calk Perspective Rolls [sic] in the
[Presidential] Administration.docx,” with Secretary of the Army
listed as the first choice.

b. Five days later, on or about November 30,
2016, the Borrower emailed the Loan Officer, copying CALK,
asking, with respect to the $6.5M Loans, “Any sense of schedule?
The clock is ticking and we are getting pressure on a number of
fronts.” At this time, a foreclosure lawsuit was pending
against the Brooklyn Property (i.e., the proposed security on
the $6.5M Loans), and as CALK knew, foreclosure auctions were
scheduled on several other properties of the Borrower and the

Relative in California (the “California Properties”).

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c. On or about the same day that he told CALK
that “the clock is ticking,” the Borrower sent a recommendation
to a senior member of the Presidential Transition Team's
executive committee (“Transition Official-1") that CALK be
appointed Secretary of the Army. The next day, Transition
Official-1 forwarded this recommendation to three other
representatives of the Presidential Transition Team,
recommending that CALK be considered. As a result, CALK’s name ©
was entered into a tracking spreadsheet maintained by the
Presidential Transition Team, with information regarding CALK’s
background copied from the Borrower’s recommendation and with
the Borrower listed as the person who had recommended CALK.

d. Less than a week later, on or about December.
5, 2016, CALK emailed the Borrower regarding a potential meeting
with the President-Elect and asking if “we are making any
progress re: SECARMY.” The Borrower responded that the
President-Elect was not taking meetings of this sort while
traveling but that the Borrower would be calling CALK later that
day with an update.

e. Two days later, on or about December 7,
2016, the Borrower emailed the Loan Officer, copying CALK, with
subject line “Nervousness is setting in.” The Borrower wrote,

“As you know the [California Properties] go to auction on Dec

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21,” and asked for an update on the $6.5M Loans. CALK then
emailed the Loan Officer, without copying the Borrower,
regarding the status of the Bank’s efforts to sell the $9.5M
Loan to the Wholesale Lender, which would have allowed the Bank
to extend the $6.5M Loans without violating its legal lending
limit. The Loan Officer responded that the Wholesale Lender was
still refusing to underwrite the full value of the $9.5M Loan,
to which CALK replied that the Wholesale Lender's position was
“[f]ucking ridiculous” and that “We MUST push back on this.”

£. Later the same day, the Borrower emailed the
Loan Officer, copying CALK, attaching paperwork indicating that
the Borrower had missed interest payments for the prior loan on
the Brooklyn Property (the “prior Brooklyn Loan”) for the
previous six months, and that various of the Borrower and
Relative’s California properties were in foreclosure as a result
of defaults on multiple of the other Prior Loans. Despite these
red flags -- and despite the fact that the Wholesale Lender was
continuing to refuse to underwrite the original $9.5M Loan --
CALK continued to press forward on underwriting the additional
$6.5M Loans.

g. Later the same day, CALK informed the
Borrower, by e-mail, that the Bank might be required to take

additional cash collateral as a result of its legal lending

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limit, writing, ‘Although it is not ideal, it may be our only
option given the short time until foreclosure on your
investments.”

h. On or about December 21, 2016, after a
lawyer for the Borrower emailed CALK to schedule a closing on
the $6.5M Loans, CALK responded that they were not scheduling a
closing until the loan was fully approved, adding, “We are
working very hard to find solutions to help [the Borrower] out
in his hour of need.”

i. The next day, on or about December 22, 2016,
CALK called the Loan Officer and directed him to prepare to
extend the $6.5M Loans whether or not the Wholesale Lender would
buy the $9.5M Loan. CALK explained to the Loan Officer that the
Bank could fund the $6.5M Loans by causing the Holding Company
to acquire part of the loan exposure (thereby allowing the Bank
to extend the $6-.5M Loans without breaching its legal lending
limit). In the course of this conversation, CALK stated, in
substance and in part, that the Borrower was “influential” with
“other people and a few other situations at hand.”

CALK Interviews for an Aaministration Position as the $6.5M
Loans Close

25. During the same time period in which STEPHEN M.

CALK, the defendant, caused the $6.5M Loans to be approved, and

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as a result of the Borrower's efforts on CALK's behalf, CALK was
interviewed at the Manhattan offices of the Presidential
Transition Team for the position of Under Secretary of the Army.
In particular:

a. On or about December 15, 2016, while the
Borrower's application for the $6.5M Loans was still pending,
the Borrower contacted a second representative of the
presidential Transition Team’s executive committee (“Transition
Official-2”) and asked Transition Official-2 to arrange an
interview of CALK for Secretary of the Army. Transition
Official-2 advised the Borrower that another candidate was
likely to be nominated for Secretary of the Army, but agreed to
arrange for CALK to be interviewed for Under Secretary of the
Army. The Borrower did not disclose to Transition Official-2
that CALK had recently caused the Bank to extend the $9.5M Loan
to the Borrower or that the Borrower was currently seeking
CALK’s approval for the $6.5M Loans.

b. On or about January 4, 2017, with CALK’s
approval, the Bank presented the Borrower with final documents
for the $6.5M Loans. The Borrower signed them, as did
representatives of the Bank.

Cc. The next day, on or about January 5, 2017,

CALK, acting on behalf of the Holding Company, signed agreements
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which transferred a portion of the $6.5M Loans from the Bank to
the Holding Company, thereby avoiding a violation of the Bank’s
statutory lending limit. The Holding Company was not in the
ordinary business of acquiring loans from the Bank, and had
never done so before.

d. After the $6.5M Loans closed, as arranged by
Transition Official-2, CALK interviewed for Under Secretary of
the Army. The interview took place on or about January 10, 2017
and was conducted by three representatives of the presidential
Transition Team at the transition team’s Manhattan offices.
Following the interview, CALK emailed one of his interviewers,
writing, among other things, “It is easy to see why [the
Borrower] has such great respect and admiration for you.”

e. On or about January 17, 2017, funds were
transferred pursuant to the $6.5M Loans. The next day, the
foreclosure lawsuit regarding the Brooklyn Property was

dismissed due to the Borrower using funds from the $6.5M Loans
to pay off the prior lender.

CALK Makes False and Misleading Statements to the occ; the OCC
Downgrades the Loan Quality

26. On or about March 29, 2017, a newspaper published
an article regarding the $16 million in loans extended by the

Bank to the Borrower. In response to the report, and given the

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size of the loans, occ bank examiners scheduled an immediate on-
site meeting with STEPHEN M. CALK, the defendant, and other Bank
personnel. At that meeting, the occ examiners asked CALK about
the reporting, which had included that the Brooklyn Property
which was securing the $6.5M Loans had been in foreclosure.
CALK responded that the Bank had not been aware of the
foreclosure. In truth and in fact, as referenced above, prior
to the Bank’s issuance of the $6.5M Loans, CALK well knew that
the Prior Brooklyn Loan had been in default and accrued hundreds
of thousands of dollars in penalties.

| 27. +The OCC subsequently conducted a review of the
$9.5M Loan and the $6.5M Loans, and in July 2017 downgraded
their credit quality to “substandard.” A substandard quality
classification signifies a well-defined credit weakness and is
characterized by the distinct possibility that the financial
institution will sustain a loss 4£ the deficiencies are not

corrected.

28. In or about October 2017, the Borrower was
charged with federal crimes and the U.S. Government sought the
Forfeiture of the Borrower's interests in properties securing
the $9.5M Loan and $6.5M Loans. The Borrower subsequently
ceased making loan payments to the Bank, and the Bank and the

Holding Company foreclosed on the cash collateral securing the

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loans and have currently written off the remaining principal
balance -- totaling over $12 million -- as a loss.

29. Im or about July 2018, STEPHEN M. CALK, the
defendant, met with two senior OCC supervisors. In the course
of this meeting, CALK brought up the subject of the Bank’s loans
to the Borrower and asserted that CALK had never wanted to be
hired for a position in the presidential administration. As set
forth above, this statement was false, as CALK had expressly and
repeatedly sought the Borrower’s assistance in obtaining such
positions as Secretary of the Treasury, Secretary of Defense,
Secretary or Under Secretary of the Army, and various
ambassadorships.

STATUTORY ALLEGATIONS

30. From at least in or about July 2016, up to and
including in or about January 2017, in the Southern District of
New York and elsewhere, STEPHEN M. CALK, the defendant, as an
officer, director, employee, and agent of a financial
institution, did corruptly solicit and demand for the benefit of
any person, and did corruptly accept and agree to accept, a
thing of value exceeding $1,000 from any person, intending to be
influenced and rewarded in connection with business and
transactions of such institution, to wit, CALK, the chairman and

chief executive officer of the Bank and the Holding Company,

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corruptly solicited and received from the Borrower assistance in
obtaining a position with the Presidential Campaign and the
incoming presidential administration, intending to be influenced
and rewarded in connection with the extension of approximately
$16 million in loans from the Bank and the Holding Company to
the Borrower.

(Title 18, United States Code, Sections 215(a) (2) and 2.)

COUNT TWO
(Conspiracy to Commit Financial Institution Bribery)

The Grand Jury further charges:

31. The allegations contained in paragraphs 1 through
29 are realleged and incorporated by reference as if fully set
forth herein.

32. From at least in or about July 2016, up to and
including in or about January 2017, in the Southern District of
New York and elsewhere, STEPHEN M. CALK, the defendant, and
others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit an offense against the United States, to wit, financial
institution bribery, in violation of Title 18, United States
Code, Section 215{(a).

33. It was a part and object of the conspiracy that

STEPHEN M. CALK, the defendant, as an officer, director,

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employee, and agent of a financial institution, and others known
and unknown, would and did corruptly solicit and demand for the
benefit of any person, and would and did corruptly accept and
agree to accept, a thing of value exceeding $1,000 from any
person, intending to be influenced and rewarded in connection
with business and transactions of such institution, to wit, CALK
and the Borrower agreed that CALK would and did corruptly
solicit and receive from the Borrower assistance in obtaining a
position with the Presidential Campaign and the incoming
presidential administration, intending to be influenced and
rewarded in connection with the extension of approximately $16
million in loans from the Bank and the Holding Company to the
Borrower, in violation of Title 18, United States Code, Section
215 (a) (2).

Overt Acts

34, In furtherance of the conspiracy and to effect
the illegal object thereof, the following overt acts, among
others, were committed in the Southern District of New York and
elsewhere:

a. On or about July 28, 2016, STEPHEN M. CALK,
the defendant, participating in a committee of the Bank,

conditionally approved a loan to, among others, the Borrower.

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b. On or about August 4, 2016, the Borrower
emailed to CALK an offer to participate on an advisory committee
for a presidential campaign.

Cc. On or about November 30, 2016, the Borrower
sent a recommendation to a senior member of the Presidential
Transition Team’s executive committee that CALK be appointed
Secretary of the Army. |

da. On or about December 15, 2016, the Borrower
contacted a second representative of the Presidential Transition
Team’s executive committee and asked that representative to
arrange an interview of CALK for Secretary of the Army. |

e. On or about December 22, 2016, CALK directed
an employee of the Bank to prepare to extend loans to the Borrower.

£. On or about January 10, 2017, CALK attended
an interview for Under Secretary of the Army at the Presidential
Transition Team’ s Manhattan offices.

(Title 18, United States Code, Section 371.)

FORFEITURE ALLEGATION

 

34. As a result of committing the offenses alleged in
Counts One and Two of this Indictment, STEPHEN M. CALK, the
defendant, shall forfeit to the United States, pursuant to Title
18, United States Code, Section 982(a) (2) (A), all property, real

and personal, constituting, or derived from, proceeds the

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defendant obtained directly or indirectly, as a result of the
commission of said offenses, including but not limited to a sum
of money in United States currency representing the amount of
proceeds traceable to the commission of said offenses.
Substitute Asset Provision

35. If any of the above-described forfeitable
property, as a result of any act or omission of STEPHEN M. CALK,
the defendant:

a. cannot be located upon the exercise of due
diligence;

b. has been transferred or sold to, or deposited

with, a third person;

c. has been placed beyond the jurisdiction of the
Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which

cannot be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p) and Title 28, United States

Code, Section 2461(c), to seek forfeiture of any other property

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of said defendant up to the value of the above forfeitable

property.

(Title 18, United States Code, Section 982;
Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

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FOREPER 39N AUDREY STRAUSS

United States Attorney

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
- V. -
STEPHEN M. CALK,

Defendant.

 

INDICTMENT

$1 19 Cr. 366 (LGS)

(Title 18, United States Code, Sections 215(a) (2), 371 and 2.)

Jou bela. AUDREY STRAUSS

United States Attorney

 
